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                       UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

 VINROY REID, VR KING
 CONSTRUCTION, LLC, VR
 INVESTMENTS and BARANKO
 ENTERPRISES, INC.

                       Plaintiffs,                      NOTICE OF REMOVAL
                                                 (from Mecklenburg County 21 CVS 15187)
           v.

 JOHN C. WOODMAN and R. KEITH
 JOHNSON,

                       Defendants.

       Pursuant to the provisions of 28 U.S.C. §§ 1334 and 1452 and Federal Rule of Bankruptcy

Procedure 9027, John C. Woodman and R. Keith Johnson, Defendants in the case captioned

Vinroy Reid, VR King Construction, LLC, VR Investments and Baranko Enterprises, Inc. v. John

C. Woodman and R. Keith Johnson, North Carolina General Court of Justice, Superior Court

Division, Mecklenburg County, Case No. 21 CVS 15187 (the “Removed Case”), hereby remove

the Removed Case to the United States Bankruptcy Court for the Western District of North

Carolina. In support of this Notice of Removal, Woodman and Johnson show the Court as

follows:

                  SUMMARY OF THE MATTER BEFORE THE COURT

       I.       Plaintiff Vinroy Reid’s Individual Bankruptcy Filing

       On September 21, 2018, Defendant Johnson filed an individual Chapter 13 petition on

behalf of Plaintiff Vinroy Reid (“Reid”) before this Court, Case No. 18-31436 (the “Individual

Case”). Johnson filed a motion to withdraw on February 6, 2019 after an appearance was entered
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by “independent counsel” on behalf of Reid. See Individual Case, DE 93. Johnson’s motion to

withdraw was granted by order dated April 12, 2019. DE 126.

         While Johnson’s motion to withdraw was pending, the Bankruptcy Administrator filed a

motion to convert the Individual Case to Chapter 7, citing Reid’s failure to disclose assets,

commingling of personal and corporate assets, and lack of good faith among other reasons. DE

116. 1 The Bankruptcy Administrator’s motion, as well as numerous objections to Reid’s Chapter

13 plan, were resolved by Consent Order dated August 19, 2019, under which Reid agreed to

convert the Individual Case to Chapter 7. DE 170. Under that same Consent Order, A. Burton

Shuford was appointed trustee, and he has continued to administer Reid’s individual estate in that

capacity. 2

         II.      Corporate Plaintiffs’ Consolidated Bankruptcy Cases

         On October 31, 2018, Defendant Woodman filed Chapter 11 petitions on behalf of the

corporate Plaintiffs (collectively the “Corporate Cases”):

         A. VR King Construction, LLC, Case No. 18-31635 (the “Lead Case”);

         B. VR Investments, LLC, Case No. 18-31637; and

         C. Baranko Enterprises, Inc., Case No. 18-31638.

         Defendant Woodman promptly moved to consolidate the Corporate Cases under the Lead

Case, which was granted on December 13, 2018. See Lead Case, DE 12, 21. In February 2019

Reid, on behalf of the corporate debtors, communicated his intent to terminate Woodman’s




1
 The bases for converting the Individual Case to Chapter 7 were substantially identical to those identified by the
Court in the Corporate Cases, described further below.
2
 As this Court is well aware, the Individual Case has been marked by numerous withdrawals and substitutions of
counsel on behalf of Reid, the imposition of sanctions against Reid, and other developments that will be more fully
described in Defendants’ responses to the Complaint.
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representation in the Lead Case, and to substitute Robert Lewis of the Lewis Law Firm, P.A. DE

34. This motion was granted by order dated March 7, 2019. DE 55.

       Like the Individual Case, while Woodman’s motion to withdraw was pending, the

Bankruptcy Administrator filed a motion to convert the Lead Case to Chapter 7 based primarily

upon the corporate debtors’ failure to observe corporate formalities, including numerous

unauthorized and undisclosed transactions for the personal benefit of Reid.            DE 59.    The

Bankruptcy Administrator’s motion echoed similar concerns previously raised by creditor Y2

Yoga Cotswold, LLC in its own motion to convert. DE 38.

       Following an evidentiary hearing, the Court granted both motions to convert and appointed

A. Burton Shuford as Chapter 7 Trustee of the Lead Case by order dated April 11, 2019. DE 115.

In so doing, the Court made detailed findings of fact that bear directly upon the claims at issue in

the Removed Case, including the following:

       A. “Although he has been in a Chapter 13 proceeding for more than six months, Reid

           testified that he did not maintain a personal bank account until recently. Virtually all of

           Reid’s personal expenses appear to have been paid through the Debtor’s bank accounts

           with no regard to corporate formalities, resulting in a loss to or diminution of the

           estates.” Id., ¶5.

       B. “Reid acknowledged withdrawing and pocketing some of the cash from the Debtor’s

           bank accounts, as well as giving cash to employees, some of whom are family members

           and others for whom there is no documentation of the work that has been done to earn

           such payments.” Id., ¶9.

       C. “Reid testified that John Woodman, Esq. (“Woodman”), counsel for the Debtors, and

           R. Keith Johnson, Esq. (“Johnson”), counsel for Reid, were responsible for
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           inaccuracies in the schedules, statements, and reports that have been filed with the

           Court. Reid testified that for the most part he had not seen or he had not actually signed

           many of the documents that had been filed with the Court.” Id., ¶19.

       D. “The Court received extensive testimony from Woodman and Johnson, and the Court

           reviewed multiple exhibits concerning their preparation of the documents and Reid’s

           review of those documents before those documents were filed with the Court.” Id., ¶20.

       E. “The Court finds that Reid’s testimony concerning the alleged responsibility of

           Johnson and Woodman for the inaccuracy of the schedules, statements, reports,

           and amendments thereto is neither accurate nor credible. Such testimony was

           merely an effort to shift the blame to third parties.” Id., ¶23 (emphasis added).

       F. “Reid, through the Debtor, has spent significant funds of the Debtor to pay Reid’s

           personal expenses, and Reid has disposed of estate property as he sees fit and without

           prior order of this Court, contrary to Paragraph F of the Operating Orders. Payment of

           Reid’s personal expenses are of no benefit to the Debtor’s estate or creditors”. Id., ¶29.

       The corporate debtors did not appeal the Court’s April 11, 2019 order, but instead filed a

motion for reconsideration, making the extraordinary accusation that Woodman and Johnson “may

have committed a fraud upon the [C]ourt”, and made “misleading statements to the Court.” DE

190, ¶¶ 47, 49. The motion to reconsider also specifically alleged that Woodman’s statements in

the motion for consolidation regarding the corporate debtors’ failure to distinguish their assets and

respect corporate formalities “should not have been included in the motion to consolidate because

it was grounds in and of itself for the Debtors’ cases to be converted or dismissed.” Id., ¶¶ 38-39.

        The motion to reconsider was opposed by the Trustee, Bankruptcy Administrator, and

creditor Y2 Yoga Cotswold, LLC. DE 132, 143, 146. Following an additional hearing at which
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the corporate debtors presented no admissible evidence, the Court denied the motion to reconsider

in its entirety by order dated September 6, 2019. DE 190. The Court specifically found “no factual

or legal support” for the corporate debtors’ allegations concerning Woodman and Johnson

summarized above. Id., ¶10, 11.

       The corporate debtors appealed this Court’s denial of the motion to reconsider. DE 202.

Ultimately, the corporate debtors’ appeal was dismissed by the United States District Court for the

Western District of North Carolina, which found that the debtor lacked standing to prosecute the

appeal following the appointment of Mr. Shuford as Chapter 7 Trustee. See Lead Case, DE 263

(docketing District Court order dismissing appeal). The District Court’s order expressly “declined

to adopt Appellant’s inflated assessment of its assets”, refuting the corporate debtor’s argument

that it had standing based upon continued solvency. Id., p. 2. The corporate debtors further

appealed the District Court’s ruling to the Fourth Circuit Court of Appeals, which also dismissed

the appeal. See Lead Case, DE 297 (docketing Fourth Circuit order dismissing appeal).

       III.    Allegations in the Removed Case

       The Removed Case is another attempt by Reid and the Corporate Debtors to advance

various legal claims and theories in state court that have been thoroughly rejected by this Court,

the District Court, and the Fourth Circuit. In summary, the Removed Case alleges that Johnson

failed to obtain Reid’s approval before filing the Individual Case, improperly completed schedules

which included low property values, and inaccurately listed expenses. See Removed Case

Complaint, ¶¶. 1-14. The crux of Reid’s claims against Johnson is that but for Johnson’s alleged

acts, the Individual Case would not have been converted to Chapter 7 “because the court would

have seen the true value of Mr. Reid’s assets”, and that Reid “could easily have paid off his

creditors and would not still be in an unnecessary bankruptcy battle that has cost him in excess of
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$1.5 million and continues to cost him unnecessary costs and expenses and pain and suffering.”

Id., ¶7, 13.

           The Removed Case goes on to repeat the same allegations, nearly verbatim, against

Woodman with respect to the Corporate Cases. See id., ¶¶15-33. In addition, the Removed Case

alleges that Woodman wrongly stated that the corporate debtors failed to maintain any division of

their assets or observe corporate formalities in the context of his motion to consolidate. Id., ¶¶25-

26.

           Based upon these allegations, the Removed Case asserts the following claims against

Johnson and Woodman: Legal Malpractice and Negligence 3, Violation of the N.C. Unlawful and

Deceptive Trade Practices Act, Constructive Fraud, Fraud, and Negligent Infliction of Emotional

Distress. All of these alleged claims involve the filing and prosecution of Individual Case and

Corporate Cases.

                                      ENTITLEMENT TO REMOVAL

           The Notice of Removal is timely under Rule 9027 of the Federal Rules of Bankruptcy

Procedure. Johnson was served with a copy of the summons and complaint on September 28,

2021, and Woodman was served on September 30, 2021.

           This Court has jurisdiction over the Removed Case under both the “arising in” and

“related to” prongs of 28 U.S.C. § 1334(b). Pursuant to 28 U.S.C. § 1452(a), removal of the

Removed Case to this Court is proper.

           All claims asserted in the Removed Case arise in either the Individual Case or the

Corporate Cases, and the Removed Case “would have no practical existence but for” these

bankruptcy proceedings. See Grausz v. Englander, 321 F.3d 467, 471–72 (4th Cir. 2003)



3
    All claims are described in this Notice of Removal as they appear in the Removed Case.
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(holding that the Fourth Circuit’s “broad interpretation of ‘arising in’ jurisdiction surely means

that jurisdiction exists over a malpractice claim against a lawyer for providing negligent advice

to a debtor in a bankruptcy case”).

         In addition, the Removed Case is inextricably related to both the Individual Case and the

Corporate Cases, as the Plaintiffs are seeking to recover personal damages on claims that are

plainly property of the respective bankruptcy estates. If the litigation were to proceed, it would

impose costs upon the Chapter 7 Trustee that would diminish funds available to creditors. See

Valley Historic Ltd. P'ship v. Bank of New York, 486 F.3d 831, 836 (4th Cir. 2007) (holding that

“[a]n action is related to bankruptcy if the outcome could alter the debtor's rights, liabilities,

options or freedom of action (either positively or negatively) and [it] in any way impacts upon

the handling and administration of the bankruptcy estate”, internal citations omitted).

                        CORE/NON-CORE STATUS OF REMOVED CASE

         The claims asserted in the Removed Case are non-core proceedings. 4 Johnson and

Woodman consent to the entry of final orders or judgments by the bankruptcy judge as to all

claims asserted in the Removed Case.

                                       PROCESS AND PLEADINGS

         This Notice is accompanied by copies of all process, pleadings and orders filed in the

Removed Case prior to removal. Johnson and Woodman will provide the process, pleadings and

orders filed in the Removed Case prior to removal to this Court in a form acceptable to the Court

contemporaneously with the filing of this Notice of Removal.




4
  Movants note that such the claims asserted in the Removed Case would arguably be core claims under 28 U.S.C. §
157(O) if the Chapter 7 Trustee, the only party with proper standing to assert them, had elected to do so on behalf of
the respective estates.
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                               FILING IN SUPERIOR COURT

       Promptly after the filing hereof, the undersigned shall file a copy of this Notice with the

Clerk of the Superior Court for Mecklenburg County.

       WHEREFORE, Johnson and Woodman jointly remove the Removed Case to this Court.


       Respectfully submitted, this the 20th day of October, 2021.

                                                     POYNER SPRUILL LLP

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                                             CERTIFICATE OF SERVICE

       I hereby certify that on this day the foregoing document was served upon each of the parties

listed below by United States First-Class Mail addressed as follows:

 Alesha S. Brown
 Justice in Action Law Center
 521 Briar Creek Road
 Charlotte, NC 28205

 Attorney for Plaintiffs


       This the 20th day of October, 2021.

                                                     POYNER SPRUILL LLP

                                             By:     _/s/ Matthew P. Weiner________________
                                                     Matthew P. Weiner, Esq.
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